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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                NORTHERN DIVISION


UNITED STATES OF AMERICA,

       Plaintiff,                         CASE NO: 09-20003-08

v.                                        DISTRICT JUDGE THOMAS L. LUDINGTON
                                          MAGISTRATE JUDGE CHARLES E. BINDER
TRAVIS WILDFONG,

       Defendant.
                                   /


                  MAGISTRATE JUDGE’S REPORT, FINDINGS AND
                RECOMMENDATION CONCERNING PLEA OF GUILTY


I.     REPORT AND FINDINGS

       On September 17, 2009, the case was referred to the undersigned Magistrate Judge

pursuant to 28 U.S.C. §§ 636(b)(1(B) and 636(b)(3) for purposes of receiving, on consent of

the parties, Defendant’s offer of a plea of guilty. The Defendant, along with counsel, appeared

before me on September 17, 2009. In open court I examined the Defendant under oath,

confirmed the Defendant’s consent, and then advised and questioned the Defendant regarding

each of the inquiries prescribed by Rule 11(b) of the FEDERAL RULES OF CRIMINAL

PROCEDURE. Based upon the Defendant’s answers and demeanor, I HEREBY FIND 1) that

the Defendant is competent to tender a plea, 2) that Defendant’s plea was knowingly,

intelligently made, and 3) that the offense(s) to which he pled are supported by an independent

basis in fact containing each of the essential elements of the offense(s). Therefore, I have

ordered the preparation of a presentence investigation report.
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II.      RECOMMENDATION

         For the reasons set forth above, IT IS RECOMMENDED that subject to the Court’s

consideration of the plea agreement pursuant to Rule 11(c) of the FEDERAL RULES OF

CRIMINAL PROCEDURE, the Defendant be adjudged guilty and have sentence imposed.



III.     REVIEW

         The parties to this action may object to and seek review of this Report and

Recommendation within ten (10) days of service of a copy hereof as provided for in 28 U.S.C.

§ 636(b)(1). Failure to file specific objections constitutes a waiver of any further right of

appeal. Thomas v. Arn, 474 U.S. 140, 106 S. Ct. 466, 88 L. Ed.2d 435 (1985); Frontier Ins.

Co. v. Blaty, 454 F.3d 590, 596 (6th Cir. 2006); United States v. Sullivan, 431 F.3d 976, 984

(6th Cir. 2005). The parties are advised that making some objections, but failing to raise

others, will not preserve all the objections a party may have to this Report and

Recommendation. McClanahan v. Comm’r of Social Security, 474 F.3d 830, 837 (6th Cir.

2006); Frontier Ins. Co., 454 F.3d at 596-97. Pursuant to E.D. Mich. LR 72.1(d)(2), a copy of

any objections is to be served upon this Magistrate Judge.



                                                              C
                                                           s/ harles`    EB  inder
                                                          CHARLES E. BINDER
Dated: September 18, 2009                                 United States Magistrate Judge


                                         CERTIFICATION

       I hereby certify that this Report and Recommendation was electronically filed this date,
electronically served on Shane Waller and Philip Sturtz, and served on District Judge
Ludington in the traditional manner.

Date: September 18, 2009             By    s/Jean L. Broucek
                                     Case Manager to Magistrate Judge Binder
